     Case 3:16-md-02741-VC           Document 19867         Filed 12/04/24      Page 1 of 2




                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        PRETRIAL ORDER NO. 301: ORDER
                                                    DENYING PLAINTIFF'S MOTION TO
   Fleischhauer v. Monsanto Co.,                    EXCLUDE CERTAIN OPINIONS OF
   Case No. 3:21-cv-05971-VC                        EXPERT GRINBLATT
                                                    Re: Dkt. No. 18958


       The plaintiff’s motion to preclude Dr. David Grinblatt from testifying about trends of

NHL cases and glyphosate use over time is denied. This ruling assumes the reader’s familiarity

with the facts, the applicable legal standard, the prior Daubert rulings in this MDL, and the

arguments made by the parties. See generally In re Roundup Products Liability Litigation, 390 F.

Supp. 3d 1102 (N.D. Cal. 2018) (Pretrial Order No. 45, Dkt. No. 1596); In re Roundup Products

Liability Litigation, 358 F. Supp. 3d 956 (N.D. Cal. 2019) (Pretrial Order No. 85, Dkt. No.
2799); Hardeman v. Monsanto Company, 997 F.3d 941 (9th Cir. 2021).

       Fleischhauer’s motion focuses entirely on the fact that similar testimony offered by Dr.

Graham Slack was excluded in a prior ruling. See PTO No. 289 at 15–16. On reflection, that

prior ruling was wrong. There’s nothing inherently unreliable about an expert saying something

to the effect of, “and by the way, if Roundup caused NHL, one might expect NHL cases to

increase with increased use of Roundup, but the opposite is true.” Indeed, evidence of this nature

was presented in the Hardeman trial. The plaintiff can respond (through his own expert
testimony and through cross-examination) that other factors could explain the inverse
      Case 3:16-md-02741-VC           Document 19867         Filed 12/04/24       Page 2 of 2




correlation, such as the decline in use of more dangerous pesticides, as was mentioned in PTO

No. 289. If any expert sought to offer an opinion that the inverse correlation itself proves that

there’s no causation, that would obviously be excludable. But Grinblatt doesn’t seem to be

saying that, so his opinion will not be excluded.

       IT IS SO ORDERED.

Dated: December 4, 2024
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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